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                                         December 5, 2018

VIA ECF

Honorable Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

                                Re:     Miranda, et al. v. Grace Farms, Inc. (d/b/a City Café), et al.;
                                        16-cv-1369-VSB & 16-cv-7704-VSB

Your Honor,

        This office represents Plaintiffs Ayde Mena Amaro, Enrique Sanchez Vielma, Irving
Ramos Franco, Paulino Ramales Bravo, and Miguel Rivera (hereinafter, the “Amaro Plaintiffs”)
in the above- referenced matter. On July 26, 2018, the Amaro Plaintiffs and Defendants jointly
submitted a proposed settlement agreement (the “Agreement”) and a letter requesting that the
Court approve the Agreement as fair.

       At the present time, we respectfully inquire as to whether the Court needs additional
information in order to reach a decision on the fairness of the Agreement or whether we should
await Your Honor’s decision. Plaintiffs await the Court’s instruction as to how to proceed.

                                                           Respectfully submitted,

                                                           MICHAEL FAILLACE & ASSOCIATES, P.C.

                                                           /s/ Michael Faillace__
                                                           Michael Faillace, Esq.

cc:       Valerie Ferrier, Esq. (via ECF)
          James O’Donnell, Esq. (via ECF)




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